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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                     APPLICATION FOR PRO HAC VICE ADMISSION

                                    CONTACT INFORMATION

 Local Counsel:                   Milo Steven Marsden, Maryann Bauhs
 Firm:                            Dorsey & Whitney LLP
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 Pro Hac Vice Applicant:          Michael Rowe
 Firm:                            Dorsey & Whitney LLP
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                                  Minneapolis, MN 55402

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 An applicant who intend to become a                       ☐ Admission by Bar Examination
 member of the Utah State Bar, please                      ☐ Admission by UBE Transfer
 identify the type of admission you seek:                  ☐ Motion/Reciprocal

                          STATE AND FEDERAL BAR MEMBERSHIPS

                   Jurisdiction                       Bar Number             Date of Admission
 Minnesota                                        0392598                   November 18, 2011
 Illinois                                         6308117                   June 5, 2012
 U.S. Court of Appeals for Seventh Circuit        N/A                       February 8, 2012
 U.S. Court of Appeals for Eighth Circuit         N/A                       July 9, 2019
 U.S. District Court for D. Minn.                 N/A                       May 28, 2014
 U.S. District Court for N.D. Ill.                N/A                       December 13, 2012

 Have you ever been the subject of disciplinary action         ☐ Yes           ☒ No
 by any bar or court to which you have been admitted?

If yes, please explain:



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               LIST PRO HAC VICE ADMISSIONS TO THE DISTRICT OF UTAH
                              IN THE PREVIOUS 5 YEARS

                   Case Name                            Case Number            Date of Admission
 Curry, et al. v. Mrs. Fields Gifts, Inc.           2:22-cv-00651             December 21, 2023




If you have been admitted pro hac vice in 3 unrelated cases in this district in the previous 5
years, please explain your reason(s) for not seeking admission to the Utah State Bar:




 I certify that I am a member in good standing                  ☒ Yes           ☐ No
 of all bars and courts to which I have been admitted.
 I certify that I have read and will comply with                ☒ Yes           ☐ No
 the Utah Rules of Professional Conduct and
 the Utah Standards of Professionalism and
 Civility.
 I certify that I am not a member of the Utah State             ☒ Yes           ☐ No
 Bar.
 I certify that I have listed all cases in which I have         ☒ Yes           ☐ No
 been admitted pro hac vice this district in the
 previous 5 years.
 I certify that I do not maintain a law office in Utah.         ☒ Yes           ☐ No

 I certify that the foregoing is true and correct               ☒ Yes           ☐ No
 and is subject to the penalty of perjury.

Under DUCivR 83-1.1(d)(2) you must register to efile to receive electronic notification of case
activity. Please visit the court’s Attorney Admissions webpage for instructions.


/s/ Michael Rowe____________________________                   April 17, 2024__________________
Signature                                                      Date




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